   Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 1MP
                                                                             of 31
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                         UNITED STATES DISTRICT COURT                 Mar 14, 2024
                            DISTRICT OF NEW JERSEY
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                                                                                               MIAMI


  UNITED STATES OF AMERICA                             Case Number: 24-10051

            v.
                                                       WARRANT FOR ARREST
  GERARDO FERMIN AQUINO VARGAS

  To:       The United States Marshal             24-2511-MJ-STRAUSS
            and any Authorized United States Officer

  YOU ARE HEREBY COMMANDED to arrest GERARDO FERMIN AQUINO VARGAS

  and bring him forthwith to the nearest magistrate to answer a

        Indictment         Information    X    Complaint          Order of Court

        Violation Notice       Probation Violation Petition

  charging him with:

  obstruction of justice, in violation of Title 18, United States Code, Sections 1503 and
  2.

  Honorable Michael A. Hammer                    United States Magistrate Judge
  Name of Issuing Officer                        Title of Issuing Officer

                                                 March 12, 2024 in the District of New Jersey
  Signature of Issuing Officer                   Date and Location


                                              RETURN

 This warrant was received and executed with the arrest of the above-named defendant at



 Date Received         Name and Title of Arresting            Signature of Arresting Officer
                       Officer
 Date of Arrest
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                                              24-2511-MJ-STRAUSS
  ════════════════════════════════════════════════════════════════
                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
  ════════════════════════════════════════════════════════════════

  UNITED STATES OF AMERICA                    :        Hon. Michael A. Hammer
                                              :
             v.                               :        Mag. No. 24-10051
                                              :
  GERARDO FERMIN AQUINO VARGAS                :        CRIMINAL COMPLAINT


        I, Special Agent Nicholas Brancato, being duly sworn, state the following is
  true and correct to the best of my knowledge and belief:

                              SEE ATTACHMENT A

        I further state that I am a Special Agent with the United States Department
  of the Treasury, Internal Revenue Service, Criminal Investigation, and that this
  complaint is based on the following facts:

                              SEE ATTACHMENT B

  Continued on the attached page and made a part hereof:




                                                  Nicholas Brancato
                                                  Internal Revenue Service – Criminal
                                                  Investigation

  Special Agent Nicholas Brancato attested to this Complaint by telephone pursuant
  to Fed. R. Crim. P. 4.1(b)(2)(A), on March 12, 2024.



  HONORABLE MICHAEL A. HAMMER
  UNITED STATES MAGISTRATE JUDGE                  Signature of Judicial Officer




                                          1
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                                  ATTACHMENT A

                                     COUNT ONE
                   (Obstruction of Justice – Grand Jury Proceeding)

        In or around November 2023, in Essex County, in the District of New Jersey,
  and elsewhere, the defendant,

                       GERARDO FERMIN AQUINO VARGAS,

  did corruptly endeavor to influence, obstruct, and impede the due administration of
  justice, namely, a grand jury investigation being conducted in the United States
  District Court for the District of New Jersey.

        In violation of Title 18, United States Code, Sections 1503 and 2.




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                                    ATTACHMENT B

         I, Nicholas Brancato, am a Special Agent with the United States Department
  of the Treasury, Internal Revenue Service, Criminal Investigation. I am fully familiar
  with the facts set forth herein based on my own investigation, my conversations with
  other law enforcement officers, and my review of reports, documents, and other items
  of evidence. Because this Complaint is being submitted for a limited purpose, I have
  not set forth each and every fact that I know concerning this investigation. Where
  statements of others are related herein, they are related in substance and part. Where
  I assert that an event took place on a particular date, I am asserting that it took place
  on or about the date alleged.

         The Defendant, Relevant Entities, and Overview of the Scheme

        1.      At all times relevant to this Complaint:

               a.    Defendant Gerardo Fermin Aquino Vargas (“Aquino”) resided in
  Florida and, from in or around 2012 to in or around November 2023, worked at a
  branch of an international financial institution (“Financial Institution-A”) in
  Hollywood, Florida (the “Hollywood Branch”), most recently as a Retail Banker.

                b.     As part of his duties as a Retail Banker, Aquino was the customer
  liaison for the Hollywood Branch and, as a subject matter expert regarding Financial
  Institution-A’s products, services, policies, and procedures, assisted new and existing
  customers with their banking needs.

               c.     Financial Institution-A, one of the largest retail banks in the
  United States, maintained policies and procedures related to anti-money laundering
  (“AML”), anti-bribery, and anti-corruption. Pursuant to these policies and
  procedures, Financial Institution-A prohibited any employee from requesting or
  receiving anything of value in exchange for influence over that employee’s act or
  decision. Financial Institution-A also prohibited employees from falsifying accounts,
  documents, and records. Financial Institution-A provided these policies and
  procedures to all employees and required employees, including Aquino, to complete
  annual AML and anti-bribery trainings.

                d.    Financial Institution-A also had policies and procedures
  regarding onboarding new individual customer accounts. As part of these policies and
  procedures, a Financial Institution-A representative was required to verify the
  identity of any individual opening an account.

         2.     As explained further below, Aquino repeatedly and corruptly accepted
  bribes from individuals in return for creating accounts at Financial Institution-A in
  the names of individuals who were not present at account opening and who Aquino
  knew were not in fact controlling the accounts. In exchange for the bribes, Aquino
  also provided debit cards associated with each account, online access to the accounts,

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  and other account services. These accounts were used to transfer millions of dollars
  from the United States to Colombia, primarily through withdrawals at Automated
  Teller Machines (“ATMs”) in Colombia. However, when law enforcement interviewed
  Aquino in or around November 2023, he made multiple false statements, including
  that he had only opened one or two accounts in this manner and that he had never
  received payment for such actions.

                                  Victim-1 Accounts

         3.    In or around April 2022, Aquino began working with a Colombian
  national (“Co-Conspirator-1”) and others to open fraudulent bank accounts at
  Financial Institution-A. In return for a fee, Aquino used the names and identification
  of witting and unwitting foreign nationals to open accounts, which Co-Conspirator-1
  and others controlled and used to transfer money from the United States to Colombia.
  Dozens of accounts Aquino opened in this manner shared a common address in
  Miami, Florida (the “Common Miami Address”).

         4.   For example, on or about July 10, 2023, at 9:06:39 AM, Aquino opened
  two bank accounts at the Hollywood Branch in the name of Victim-1, a 77-year-old
  Colombian woman. On the account opening forms, Victim-1’s address was identified
  as the Common Miami Address.

        5.    The following surveillance screenshot from Financial Institution-A
  depicts Aquino (at left) on or about July 10, 2023, at 9:06:39 AM, the same day and
  time that Aquino opened Victim-1’s accounts at Financial Institution-A:




        6.     That same day, Aquino issued a debit card for each account opened in
  Victim-1’s name. On or about July 27, 2023, Financial Institution-A froze both of
  Victim-1’s debit cards due to potentially fraudulent ATM withdrawals in Colombia.

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         7.    On or about August 3, 2023, Co-Conspirator-1 sent Aquino a text
  message in Spanish1 requesting help getting multiple Financial Institution-A debit
  cards unblocked, including the two debit cards associated with Victim-1, which Co-
  Conspirator-1 identified as a priority. On or about August 3, 2023, in a recorded call,
  Aquino contacted Financial Institution-A’s debit card hotline from the Hollywood
  Branch and identified several flagged ATM transactions as “valid,” resulting in two
  of Victim 1’s debit cards being unblocked and available for continued usage. On or
  about that same day, Aquino texted Co-Conspirator-1 in Spanish that he had
  unblocked Victim-1’s debit cards.

         8.    Subsequently, Co-Conspirator-1 and others used the debit cards linked
  to Victim-1’s accounts to purchase airfare from Colombia to the United States in or
  around September 2023. Co-Conspirator-1 and others provided the Common Miami
  Address as their personal residence address when purchasing their flights.

        9.    On or about September 25, 2023, Aquino, with Co-Conspirator-1
  present, opened multiple additional accounts on behalf of Co-Conspirator-1 in the
  names of nominee owners, which accounts were then used to move funds from the
  United States to Colombia.

                      Payments from Co-Conspirator-1 to Aquino

        10.    In or around 2023, Co-Conspirator-1 transferred at least $5,600 to
  Aquino through a series of Zelle payments. Aquino received these payments in his
  personal account held at Financial Institution-A.

         11.   According to WhatsApp2 conversations between Aquino and Co-
  Conspirator-1, these payments were in exchange for Aquino opening bank accounts
  at Financial Institution-A and providing ongoing services like unblocking debit
  cards. The messages also show that Aquino typically charged Co-Conspirator-1
  approximately $200 per account and that Aquino opened approximately 28 accounts
  for Co-Conspirator 1 in or around May and June of 2023.

         12.    For example, on or about June 27, 2023, Aquino, who goes by the name
  “Gerry,” sent the below message to Co-Conspirator-1. In the message, Aquino
  admitted he gave Co-Conspirator-1 at least 28 debit cards and claimed he charged
  Co-Conspirator-1 a lower rate per card than what he charged others for a similar
  service (translated to: “Man, to me this isn’t business. Honestly I was thinking $200
  per client with you guys. Obviously I gave you 28 cards. That $200 I’m giving you




  1 This and other Spanish language messages described herein have been informally translated and

  summarized by a Spanish-speaking agent for the purposes of this Complaint.
  2 WhatsApp is an encrypted messaging application.



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  guys, I’m not doing anymore. With other people it’s $500-$800 per account man. You
  guys know that you are my thing.”):




         13.   A few minutes later, Aquino sent the below message to Co-
  Conspirator-1 in Spanish confirming he charged $200 per debit card he provided
  (translated to: “I have Venezuelans, Israelis, Bolivians, all the way to Peruvians, I
  work with them for much more than $100 man. And less risk for me. Yes man, we
  both have to benefit. So we will stay at $200 then man.”):




        14.   On or about July 26, 2023, Co-Conspirator-1 transferred $2,800 to
  Aquino through Zelle. The same day, Co-Conspirator-1 sent Aquino a screenshot of
  the payment confirmation via WhatsApp. Aquino responded, “Gracias,” and sent Co-
  Conspirator-1 a GIF of martial artist and actor Jean-Claude Van Damme giving a
  thumbs-up:




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                               First Aquino Interview

         15.   On or about November 8, 2023, I, along with Special Agent Peter
  Chartier of the Federal Deposit Insurance Corporation, Office of Inspector General,
  interviewed Aquino at his home in Hollywood, Florida. During the interview, we
  informed Aquino that he needed to be truthful, and that lying to federal law
  enforcement agents could have negative consequences.

        16.    During the interview, Aquino said in relevant part:

                 a. As a Retail Banker, Aquino applied for loans, opened accounts, and
                    applied for credit cards on behalf of customers.

                 b. Customers had to appear in person to open accounts at Financial
                    Institution-A.

                 c. In 2022 or early 2023, a man approached Aquino at Financial
                    Institution-A to open an account and presented a foreign passport
                    that Aquino believed to be the individual’s legitimate passport.
                    The same man also asked whether Aquino would open an account
                    for a relative who was currently in Colombia, which Aquino did.

                 d. Aquino was not compensated for opening these accounts; rather,
                    he opened these accounts because he is “nice and can’t say no.”

                 e. Aquino typically communicated with this individual through
                    WhatsApp.

                     Second Aquino Interview & Obstruction

         17.   At all times relevant to this Complaint, a federal grand jury, empaneled
  in the District of New Jersey, was investigating Aquino’s conduct at Financial
  Institution-A.

         18.    On or about November 29, 2023, Special Agent Chartier and I spoke
  with Aquino again, this time by telephone. Special Agent Chartier and I were located
  in the District of New Jersey at the time of the call.

        19.   At the outset of the conversation, Special Agent Chartier informed
  Aquino that the conversation was being recorded; that lying to federal law
  enforcement agents is potentially a crime; and that the conversation related to an
  ongoing grand jury investigation in the District of New Jersey and that the
  information would be relayed to the grand jury.




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         20.   During the ensuing conversation, Aquino made the following materially
  false statements:

                a. There was “one case or a couple of cases” where Aquino opened
                   accounts in the names of individuals who were not present at the
                   time of account opening.

                b. While he may have opened accounts for individuals that were not
                   present at the time of account opening, Aquino was never paid,
                   including by Zelle or with cash, for doing so.




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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-2511-STRAUSS

  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.

  GERARDO FERMIN AQUINO VARGAS,

                    Defendant.
  __________________________________________/

                         DEFENDANT=S INVOCATION OF
                        RIGHT TO SILENCE AND COUNSEL

        The defendant named above does hereby invoke his right to remain silent and

  to counsel with respect to any and all questioning or interrogation, regardless of the

  subject matter, including, but not limited to, matters that may bear on or relate to

  arrest, searches and seizures, bail, pretrial release or detention, evidence at trial,

  guilt or innocence, forfeitures, or that may be relevant to sentencing, enhanced

  punishments, factors applicable under the U. S. Sentencing Guidelines, restitution,

  immigration status or consequences resulting from arrest or conviction, appeals or

  other post-trial proceedings.

        The defendant requests that the U. S. Attorney ensure that this invocation of

  rights is honored, by forwarding a copy of it to all law enforcement agents,

  government officials, or employees associated with the investigation of any matters




                                            1
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  relating to the defendant.    Any contact with the defendant must be made through

  the defendant=s lawyer, undersigned counsel.

                                         Respectfully submitted,

                                         HECTOR A. DOPICO
                                         INTERIM FEDERAL PUBLIC DEFENDER


                                   BY:   s/ Daniel Ecarius
                                         Daniel Ecarius
                                         Assistant Federal Public Defender
                                         Florida Bar No. 0719765
                                         150 West Flagler Street, Suite 1700
                                         Miami, Florida 33130-1555
                                         Tel: 305-530-7000
                                         E-Mail Address: daniel_ecarius@fd.org


                               CERTIFICATE OF SERVICE

        I HEREBY certify that on March 15, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF.




                                                  s/Daniel Ecarius
                                                 Daniel Ecarius




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                                           MINUTE ORDER                                                      Page 9

                                   Magistrate Judge Jared M. Strauss
                     Atkins Building Courthouse-9th Floor                         Date: 3/14/2024     Time: 1:30 p.m.
Defendant: Gerardo Fermin Aquino Vargas J#: 04460-511            Case #: 24-MJ-2511-STRAUSS
AUSA: Lauren Astigarraga                                  Attorney: AFPD, Daniel Ecarius
Violation: D NJ/WARR/COMP/OBSTRUCTION OF JUSTICE               Surr/Arrest Date: 3/14/24         YOB: 1986

Proceeding: Initial Appearance                                        CJA Appt:
Bond/PTD Held:       Yes      No         Recommended Bond:
Bond Set at: STIP-$100K PSB & $25K 10% w/ Nebbia                      Co-signed by:
     Surrender and/or do not obtain passports/travel docs                   Language: English
     Report to PTS as directed/or            x’s a week/month by            Disposition:
     phone:          x’s a week/month in person                              Brady Order given. Defendant sworn
     Random urine testing by Pretrial
     Services                                                               and AFPD appointed. Both sides
     Treatment as deemed necessary                                          stipulate to 2 bonds: $100,000 PSB and
     Refrain from excessive use of alcohol                                  $25,000 10% with Nebbia. Defendant
     Participate in mental health assessment & treatment                    Waives removal in open court. The
     Maintain or seek full-time employment/education                        Court Orders the Defendant removed
     No contact with victims/witnesses, except through counsel              to the District of New Jersey for all
     No firearms                                                            further proceedings. DEFENDANT
     Not to encumber property                                               RELEASED. Defendant has 24hrs. to

     May not visit transportation establishments                            satisfy Nebbia and file with the court.
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
                                                                              Time from today to ________ excluded
     Other: See Attachment re: Special Conditions.                            from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:            Time:            Judge:                          Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. 13:48:00; 14:53:55                                             Time in Court: 16 mins.
                                     s/Jared M. Strauss                                   Magistrate Judge
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                                                              DEFENDANT:   Gerardo Fermin Aquino Vargas
                                                              CASE NUMBER: 24-MJ-2511-Strauss
                                                              PAGE TWO


                                     SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with the
special conditions checked below:

   a. Surrender all passports and travel documents, if any, to Pretrial Services and not obtain any travel documents
      during the pendency of the case; within 48hrs.
   b. Report to Pretrial Services as follows: ( ) as directed or___ time(s) a week in person and___ time(s) a week by
      telephone;
   c. Submit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on ability
      to pay, as determined by the U.S. Probation Officer;
   d. Refrain from ____excessive OR ___abstain from alcohol use or any use of a narcotic drug or other controlled
      substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
      a licensed medical practitioner;
   e. Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
      based on ability to pay, as determined by the U.S. Probation Officer;
   f. Employment restriction(s): No financial institutions
   g. Maintain or actively seek full-time employment;
   h. Maintain or begin an educational program;
   i. Avoid all contact with victims or witnesses to the crimes charged, except through counsel. The AUSA shall
      provide defense counsel and pretrial services with the names of all victims or witnesses. The prohibition
      against contact does not take effect until defense counsel receives the list. The prohibition against contact
      applies only to those persons on the list, but the prosecutor may expand the list by sending written notice to
      defense counsel and pretrial services.;
   j. Avoid all contact with co-defendants and defendants in related cases, except through counsel;
   k. Refrain from possessing a firearm, destructive device or other dangerous weapons and shall surrender (if any),
      their concealed weapons permit to the U.S. Probation Office;
   l. None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc., any real property they own,
      until the bond is discharged, or otherwise modified by the Court;
   m. May not visit commercial transportation establishment: airports, seaport/marinas, commercial bus terminals,
       train stations, etc.;
   n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
       defendant’s computer equipment at his/her place of employment or on the computer at his/her residence which
       may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
       ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
       thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant’s
       computer(s), at the defendant’s expense, any hardware or software systems to monitor the defendant’s computer
       use;
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                                                          DEFENDANT:   Gerardo Fermin Aquino Vargas
                                                          CASE NUMBER: 24-MJ-2511-Strauss
                                                          PAGE THREE



  o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as well as contribute to the costs of
     services rendered based on ( ) ability to pay as determined by the U.S. Probation Officer – or – ( ) paid by
     U.S. Probation;
         Location monitoring technology at the discretion of the officer
         Radio Frequency (RF) monitoring (Electronic Monitoring)
         Active GPS Monitoring
         Voice Recognition
                                                                    11am to_____,
         Curfew: You are restricted to your residence every day from_____   6pm or as directed by the supervising
         officer.
                                                       OR
        Home Detention: You are restricted to your residence at all times except for:
        ( ) medical
        ( ) substance abuse or mental health treatment
        ( ) court appearances
        ( ) attorney visits or court ordered obligations
        ( ) religious services
        ( ) employment
        ( ) other activities as pre-approved by the supervising officer
   p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
      halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
      Services or ( ) based on the defendant’s ability to pay. You are restricted to the residential re-entry
      center/halfway house at all times except for:
      ( ) employment
      ( ) education
      ( ) religious services
      ( ) medical, substance abuse, or mental health treatment
      ( ) attorney visits
      ( ) court appearances
      ( ) court ordered obligations
      ( ) reporting to Pretrial Services
      ( ) other ___________________________________________________________________
__ q. Third-Party Custody: _________________________________will serve as a third party custodian and will
      report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
      requirements, the third party custodian can be subject to the provisions of 18 U.S.C. § 401, Contempt of
      Court.
__ r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
      U.S.C. 1030(e)(1)), other electronic communication or data storage devices or media, or office, to a search
      conducted by a United States Probation Officer. The defendant must warn any other occupants that the
      premises may be subject to searches pursuant to this condition. Any search must be conducted at a reasonable
      time and in a reasonable manner.
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                                                                 DEFENDANT: Gerardo Fermin Aquino Vargas
                                                                 CASE NUMBER: 24-MJ-2511-Strauss
                                                                 PAGE FOUR


s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restrictions on personal
associations, place of abode, or travel, to avoid all contact with an alleged victim of the crime and with a
potential witness who may testify concerning the offense; report on a regular basis to a designated law
enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
monitoring) and refrain from possessing a firearm, destructive device or other dangerous weapons.
t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
      1. ( ) Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                by the Court or allowed by the U.S. Probation Officer.
      2. ( ) The defendant shall not possess or use any data encryption technique or program and shall
                provide passwords and administrative rights to the U.S. Probation Officer.
      3. ( ) Defendant shall participate in specialized sex offender evaluation and treatment, if necessary,
                and to contribute to the costs of services rendered based on ability to pay, as determined by
                the U.S. Probation Office.
      4. ( ) Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                and/or computer. Additionally, the defendant is prohibited from using another individual’s
                computer or device that has internet capability.
      5. ( ) Defendant is prohibited from establishing or maintaining any email account or social media
                account. Additionally, the defendant is prohibited from using another individual’s email account
                or social media account. Must provide monthly or upon request, personal phone and credit card
                billings to Pretrial Services to confirm there are no services with any internet services provider.
      6. ( ) Defendant is not permitted to enter places where children congregate including, but not limited
                to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                amusement parks, carnivals/fairs, unless approved by the U.S. Probation Officer.
      7. ( ) The defendant shall not be involved in any children’s or youth organizations.
      8. ( ) Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                sexually stimulating visual or auditory material, including telephone, electronic media,
                computer programs, or computer services.
      9. ( ) The defendant shall participate in a maintenance polygraph examination to periodically
               investigate the defendant’s compliance. The polygraph examination shall specifically address
               only defendant’s compliance or non-compliance with the special conditions of release and shall
               not inquire into the facts of the pending criminal case against defendant. The defendant will
               contribute to the costs of services rendered (co-payment) based on ability to pay or availability
               of third party payment.
u. May travel to and from: SDFL     (court) & D-NJ (reside) and must notify Pretrial Services of travel plans before
                              ___________________,
leaving and upon return.
v. Comply with the following additional conditions of bond:
  Defendant to reside at the address on the record. Twenty-fours to satisfy nebbia and file with the court (3/25/2024).
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(Revised03/2020)

                                   U NITED STA TES D ISTRICT C O UR T
                                   SOU TH ER N D ISTW CT O F FL OR IDA

                            APPEAkANCE BoND:
                                     CASE NO.: E % .* X .X X // 'X Y Yo@ 55

UN ITED STA TES OF A M ERICA :
                     Plaintiff,
                                                           usM # : P H '-?f p - r f /
& ergrla Fee-er'l,a #hvulmu / w '-so r
                     D efendant,


1,thelmdersigned defendantand1orwe,theundersignedsureties,jointly andseverallyacknowledgethatweand
olzrpersonalrepresentatives,jointlyandseverally,arebotmdtopaytheUrlited StatesofAmerica,thesllm of
$ t J J , ao :7      .
                            C <.
                               *
                                  R
                                   STA ND AR D C ON D ITIO N S OF BO ND

The conditions ofthisbond are thatthe defendant:

    1. Shallappear before this Courtand at such othei places asthe defendantm ay be required to appear,in
accordance with a'ny and allorders and directions relating to the defendant's appearance in this case,including
appeàrance forviolation ofa condition ofthe defendant'srelease asm ay be ordered ornotitied by this Courtor
arly otherUnited StatesDistrictCourttowlzich the defendantm ay beheld to answerorthecausekansferred.The
defendantisrequiredtb ascertain from theClerk ofCourtordefensecotmselthetim eand placeofallscheduled
proceedingson the case. In no eventm ay a defendantassllm ethatlaisorhercasehasbeen dismissed llnlessthe
cptu'thasenteredan orderofdismissal. Thedefendantisto abideby anyjudgmententered in such matterby
stuwndqyingtoserveanysentenceimposedandobeyinganyozgerordirectioninconnectionwithsuchjudgment.
Thisisacontinuing bond,including any proceeding on appeilorreview,'which shallremaininfullforcçarld
effecttm tilsuch tim e astlle Courtshallorder othem ise.

   2. M ay nottraveloutsidethe Southern DistrictofFlorida tmlessotherwise approved by the Cotu'tpriorto
any such travel.TheSouthern DistrictofFloridaconsistsofthefollowingcotmties:Broward,Highlands,lndian
River,M artin,M ianni-Dade,M onroe,Okeechôbee,Palm Beach and !t.Lucie.
   3. M ay notchange his/her presentaddress withoutpriör notification and approvalfrom the U .S.Probation
Officeror the Court.
   4. M ust cooperate with law enforcem ent officers in the collection of a D N A snm ple if the collection is
required by 42 U .S.C.Section 14135a.
    5. M ustnotviolate arly federal,state orlocal1aw while on release in this case.Should the defendant com e
in contactwith law enforcem enthe/she shallnotify the U .S.Probation Officerw itbin 72 hotlrs.
        Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 17 of 31


                                                                                                                            DEIY NDANI': G erardo Ferm inAquino Vargas
                                                                                                                            CASE NUMBER:24-MJ-251l-strauss
                                                                                                                            PAG E > 0


                                                                                 SPECIA L CO NDITIO NS OF BO N D
Ih addition tô com pliande w ith the pteviously stated conditionb of bond,the defendant m ustcom ply with the
             '
s#ecfalconditionstheckedbelow:
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    .   la.suvender'allpasspôrtsandtraveldocumzhts,ifaùy,toPfktriplserviceçanbnotobtainanypaveldpcuments
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                     ' during thçpendencyofthecase; W i
                                                      thin 48hrs.
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    = b.RepofttoPrétrialSeryiceswsfollowj:(7 àsdirectedot' timets)à.weekinpersonand . timets)aweekby
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                 c.jubrhittqfùbstanceabusktestingand/àftrptm:rit,conirlbutetpthecojtbfservicesrendèiedbasedonability
                      ''
                   to pay,as'detenuined by the U .S.Probation Officer;
    =            dlRefrain fröm      excessive OR      abshin from alcoholuse'or any useofa narcoticdrug orothercontrolled
            ' substance,àsdefineditlsectibn 102oftheCbntrolledSubstancesAct(21U.S.O.j802),withoutaprespriptionby
                          alicensed m çdicalpractitiöner;                                                                                                                                                        '
                 e.Participatein amentalhealt: assessnientand/ortreatmentand contribu'teio thecostsofservicesrendered
                                                   .

                      .   based on'ability tp pay, as'determ ined by the U .S.Pröbation Ofûcer;
        V ç.Empl
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               a.L *'  .
                         restrictiontsltNo financialinstitutionb
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    -   M j.M aintaiiloractivelyseekfull-timeemployment;
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                 h.M aintain orbee
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  k.Avoidal1c
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              .tactwithviiti
                           .msorwitnessesto.thecripescharged,exkeptthroughcounsel.TheAUSA sha
                                                                                            .ll
                          Eprovide defense counsel ànd pre'trial se
                                       .               .    '
                                                                  'rvices with 1he nanies of a11victim s or w im esses. The prohibition
                                                                         '                '           '

                           tagainstcontad doesnottéke effectuntildefense couhselreceivesthexlist.The prôhibition againstcùntact
                          appliesonl*
                                    v'
                                    rtbthoseperdohsohthelist.buttheprosecutormayexpandthelistbysùndinjwrittenpqticeto
                                                       ..       uk                                -                =<                       .v.   --
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                                                                                                                                                                                         .
                          defense colinseland pretrialservices.;
                                           .                                                                                                                                                 '
    1 j.Avoida11coptactwithco-deferidantsanddefèndantsinrelatedcases,çxceptthroughcôunsel;   .
    V k.Refrainfrolhpossissing aafsreanu,destructivedeviceorôtherdangerousw eaponsandsIaa11surrender(ifany),
                                                   .

      z theirconcekledweaponspermitto theU.S.Probation Oftlçe;          '
    F
    .  1  . y
            ,      !r           '.  .             .               ,
    - :. N one ofthesignatoriesmaysell,pledge,mortgage,hyjpthecate,encumàd,r,etc.,anyr
                                                                                     .eal.
                                                                                         propertythèyown,
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                  l!ttiltheboizdisdischarged,orotherwiserholifiedbytheCöurt;
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    -            m :M av
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                          notvisitcom m ercialtranspor
                                                   A
                                                      tation establishm ent:airports,seapprt/m arinas,com m ercialbusterm inals,
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                    train statiohs#etc.;                          '            .                                        '                              '
                                                                                                                                                                                                             -
                                                                                                                                                   .                                                     ..
                 n.DefendantshallconqentSo tv U.S.Probation Officerconducting perigdicunannouncedexaminâtiohsofthe
    -U                        defendànt,scomputerequipm entathis/herplace ofemploy
                                                                                 .m ehtororithe computerjthis/herres.idencewhich
                              mayincluderetrievqland.copyingofa1l'dau from thecomputerts)and.any internalorextemalperipheralsto
                              ensure compliance with this condition and/orrem ovalbfsuch equipm entforthepurpose ofcbnducting a more
                              thorough inspection;and'cènsentatthe diredion oftheU .S.Probation Officerto haveinqtalled on thedefendant's
                              comppterts),atthedefendant'sexpense,:nyhardwarepr.soâwaresystemstomonitorJhedefendaht'sco
                                                       .                                  ..              .'          q
                                                                                                                       mputer   ''                                                  -.       '
                                                                                                                                                                                                             .
                              use;                                                                                                                                                                       .
Case 1:24-mj-02511-JMS
     &
                       Document 9 Entered on FLSD Docket 03/18/2024 Page 18 of 31


                                                                      DEFENDANT: Gerardo Fermin Aquino Vargas
                                                                      CASE NUM BER:24-M J-251l-strauss
                                                                      PAGE TH REE


zo.LocATlox MONITORJNG èROGRAM:Thedefendantshallbemonitorédbytheform ofloçation
                            '
            monitoring and shallabideby alltechnology requirementjasnoted beldw , aswella'scotztributeto the
                                                                 .                                         , costsof..
        '
            servicesrenderedbasedon ( )abilitytopay asYterminedbytheU.S.ProbationOffker- or- V'jpaidby
            U.S.Probation;      .                                         .   .-

            -    Lùcationmonitoringteclmolojyatthediscretionoftheofticey
            - RudioFreqAuencv
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                                 e monitorina
                                            v (
                                              )El
                                                ectronicVonitoiingj
             7 ActikeGpsMonitoring
        .
                 V oice Rdcoanition
             U curfew:.Youarereskictedtoyourresidenceeverydaygomllam to.ùnm ,orasdirectedbythesupervising'
                 officer.
                                                                     OR
                 H om e D etention:Y ou are restricted to yourresidence âtal1tim es ex-èeptfor:
                 ( )mèdicRl .              .
                 ( )substancéabuse(lrmentaljjeajs jxajmzyu
                 ( )coutïappeatances
                 ( )attorneyvisitsordourtorderedöbligations
                 ( )religiousservices
                 (.)employment
                 ( )otheractivitiesaspre-approvedbythesupervisingofficer
-       p.RESIDENTIAT,R E-ENTRY CEN TER : The defendant shall reside at a residèhtial re-entry center or
             halfwàyhouseand abidebyallther'
                                           ulesandrejulationsoftheprogramkThecosttobepatdby( lpèçtrial
             Setvices or ( )based on the defendant'sabllity to pay.You arerestricted to the residentialte-entry
             centçr/halfway house ata1ltim esexceptfor:                                                                        '
             ( )employment        ' '
             ( )education
             ( )religiousservkes
             ( )médicat,subslnceabuse,ormentalhealthtreau ent
             ( )attomeyvisits
             ( )courtappearances
             ( )courtorderedobligations
             ( )mportingtoPretrlalServices
             ( )other-                                r                                                '
-       q.Third-party Custody:                 .                                   willserve asa third party custodian and w ill
             rèpùl'tany violatiqnsoftherelease conditionsto thç U.S.Probation Offcer. liailur:to ccp ply with these
                                                             .

             requirements,thethird party custödian can besubjectto theproviéionsof18U.S.C.j401,Contemptof
             Court                  .                        '                                                 .
    ,
        r.The defendantshallsubmithisperson,propeo ,residence,vehicle,papers,computers,(asdefined in 18
          U.S.C.1030(e)(1)),otherelectrdnic communicatiop ordatastorage dçyicesormedia,oroffice,to a search'
             con  éuctedby aUhited StatesProbatioa'Officer. The defendantmustwarn any otheroccupantsthatthe
                remisesmaybesubjecttorsearchespursuanttpthiscondition.Anysearchmustbeconductedatareasonable
             tlm e and in a reasonable m anner.
    Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 19 of 31


                                                                                      DEFENDANT: Gerardo Ferm ih Aqnino Vargâs
                                                                                      CASE NPM BER:24-M J-251l-strauss
                                                                                      PAGE FOUR
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                 :       .                                                                               '
                                                                                                     '                                 .
        .

    =           s. M ahdatbry A dam W alsh Conditions:.D efendant'shall abide by specified restriçtions on personal
                associations,place of abode,or travel,to r
                                                         avoid al1contactw ith an alleged victim of the crim e and w ith.a
                potentialw itness who m ay testify concem ing the offense; report on a regular basis to a designated 1aw
            '
            .   enforcementagency,pretrialservicesagencyorotheragçncy;complywithaspecifiedcurfew (withelçctronic
                monitoringl'pndrefrainfrom'possessingafrearm,destructivedeviceorptherdangerousweapons.
        '
                t.A dditionalSex Offenje CènditionsForDefendantsCharged orConvicted ofa SexualOffense:
                             1. ( )Defendantrriaynothavecontqctwithvictipts),oranychildtmdertheageof18,unlessa'pproved
                                               by the Courtorallow ed by the U .S.Probation Offcer.      .
                     '
                             2. ( ,'
                                   ).Thedefendantshallnötpossessoruseanydataencryptioùtechniqueoiprogram andshall
                                                         '

                                     jrovidepasswords.andadininistrativerights.totheU.jipfobation Officer.
                                          .



                             3. ( )Defendantshallparticipateipspecializedsexoffenderevaluationandtreatment,ifnecejsary,
                                               and to contributeto the costsofservicesrendered based on ability to pay,asdeterm ined by
                                               theU .S.Probatiön Office. '                                                .

                                          )Defendantshallnotpossess,procure,purchaseorotherwisyobtainanyihternetcapabledevice
                                                   .                  .      .                                                         .
                                      .
                                               and/orcoiputer.Additionally,thedefendàntisprôhibited from usihg anotherindividuàlj.s
                                                                                                                     .


                                              'çom puterordevice thatha<'
                                                                        internetcapability.
                                          )Defendant.isprohibitedfrôm establishingormaintaininganyemailaccotmtorsocialmedia'
                                            accöunt.Additionally,thedefendantisprohibitedfrom usinganotherindividual'semailaccouni
                                               orsocialm edià account.M ustprovide m fmthlv orupon requestspersonalphone and creditcard
                                               billingstoPrqtrialServicqstoconfirm thereareno serviceswithany intèrnetservicesprovider.
                             6. ( )Defendantis.notpermittedtoenterplaéeswhe' rechildrencongregateincluding,butnottimited
                                   toanyplayareas,playgrounds,libraries,children-themedrestaurants,daycares,schoolsj
                                               am psem entp'
                                                           arks,carnikals/fairs,unlessapproved by theU .S.Probation Officer.               '
                             7. ( )Thedefendantshallnotbqihvplvedinanychildren'soryouthorganizations.
                             8. (.)Defendantisxprohibitedfrom viewing,bwning,orposkesqinganyobscefle,pornographic,or
                                               sexually stim tllating visualbr.auditory m'aterial,including telephone,electronic m edia,
                                  '
                                      .        cbm puterprogram s,orcqm puterservices.
                             9. ( )Thedefendantshallparticipàteinamaihtehancepolygraphexaminationtöperiodically
                                          '
                                          .   investigate the defendant'sc'orim lialice. The polvaraph exam ination shallspecilcally address
                                              onlydefendant'scomplianciornon-compliancewithth:specialcondltlonsofrelease.andshall
                                          '
                                              notinquireiptothefactsofthependingcriiuinalcaseagainstdeikndant.Thedefendantwill
                                      '
                                              'contributetothecostsofservicesrendered(coupayment)Sasedonabilitytopayoravailability
        .                                     ofthird party paym ent..              '            '           .
'
    Y lk.Mayttakeltoandfrom:SDFL(cou'rt)&D-NJ(resi
                                                 de),andmilstnotifyPretriàlServices oftravel.plans before             .                    .

     . leaving énd upon return. - '      ' .. '                            '     '. '            '
    7 V.complywitstheollowin'gaddiuonalconditionsorboud,'                                    .                                .

    .             Defendanttoreside atthe addressonthe reçord.Twenty-fourstosatisfynèbbiaandfi
                                                                                             lewi
                                                                                                ththecouq (3/25/2024).
                Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 20 of 31

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                                                               PENAI,TIE!AND SANCTIONSAPPLICABLE TO D/FENDANT
                                  .                                                      '                             '               .                                                                      '

.          violation otanyoftheforegoingconditionsofreleasem'ayresultintheimmediateissuanceofawarrant
    for thé defendant's azrest,a revocation,ofrelqase,'
                                                      and order ofdetention,asprovlded in 18 U.S.C.'j3148,
                                                               .

    for?eitu'
            reofany bàilposted,and.'aprosecution'forcontempt'asprovidedin 18U.S.C.jkol,which cotlldresult
    ip appssibletel'm ofiinprisonm entor'afine.                                                                                                                         '
                  '
                                  The comm ission of any offense while on prekialrelçase m ay restllt itl an additional sentence upon
    convie
         cfion forsuch bffensetoaterm oflmpdsonmentofn6tmoret11m1tenyears,iftheoffenseisafelohy;ora
    term of imprisonm éllt of not m öre than one year,if the offehse ié a misdemeanor.Tllis sentence shallbe
    consecutiveto any othersentenceand mustbeimposedin édditiontothesentence'rèceivedfortheoffenseitjelf.                                                                                     n


                      . '                                                                                 .                                         .
         : Title18U'  .S'
                      .
                         .C.51503makejitafelonyénminaloffensepmlshablebyimprisonmentanda$250,000fine
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    tointlmldateora'  ttempttointimidateawitness,jurororofficerofthe'court,'18U
                                                                              ..S.C.j1510makesitafelony
    orim irialoffepseptmishableby impdsonm ent>nd a$250,000firie'
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                          .       -            '       -         to obstnlctacriminAlinvestigation'
                                                                                                  ,18U .S.C.
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    '
     51512 makesità ftlony criminaloffensepunishableby impriéonmeniand a $250,000 fine to tnmpey.With a                                                                 .
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    witiles'
           s,victim orinfonnant;and18U.S.C.j151!makesitaiklonycriminalôffvseplnishablebyimprisénme:t
    anda$250,000finetoretàliateagainstawitnèss,victim orintormant,orthreasentodo so.
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    failsto appearasreqttired by the conditionsofreleaie,ofto surrendetfoitheservice ofsentencepursdlnn,tto a
    '                                                                          '
    courtorder. Ifthe défendantw asreleased in connection w ith a charge of,orw lïilç aw aiting sentence, sur
                                                                                                            'rynder                                             .

    fortheserviceofa sentence,örappealorcertiorad aherconviction for:         '
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                     (1)a'
                         n offensepunishabteby death,lifeim prijonm ent,orim prisbnm ùntforatenn offilteen yearsor m ore
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                                  thedefendahtshallbefm ednotmoreth0 $250,000 orimprisonedfornotm orethan ten yeàrsyofàoth;
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                ..
                     (2)anoffensepmishablebyimprisönmentforaterinoffiveyearsormore,butlessthanfifteenyears,the
                        defendantshallbefinednètmoreth= $250,000orimprisonedfornotmorethanfivtyears,orbothf
                                                                                                      -
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             .
                     (3)ànyotherfçlony,thedefendantshallbefined'potmore'
                              '
                                                                       than$250,000orimprisonednotmorethantwo
                        fears,or.
                                b.oth; .
            .,       (4)amisdemeplwr,thedefendantshall. befmed notmoréth% $100,000 orimprisoùedJlotmorethan onr
                                      year,-orboth..                               .                                       .   .
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           A terrriofim prisonm entim posed forfàilureto appearorsurrendershàllbe con:ecutive to the sentepce of
                 .


    imprisonm entforatly otheroffensè.111addition,afailuretoappear'm ay resultihtheforfeitdreofany bailposted,
    wlzich m eansthatthe dçfendantwillbe obligatéd tp pay tll: fullamotmtofthebond,which may beerlfprced by
    a1lappllcablçlawsoftheUnited S'tates.
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                                                                         DBFENDANT:
                                                                                    G ,croe-to J a.jexg
                                                                         cAsENsUMB
                                                                         PAGE  c ER: C f -M r'.2r //.fv a jxfy
                             PENALTIES A ND SANCTIO NS APPLICA BLE TO SURET IES                        -   --

Violation by thedefendantofany oftheforegoing conditionsofreleasewillresultin an hnmediateobligation by thesurety orsureties
topaythef'ullamountofthebond.Forfeitureofthebonëforanybreachofoneormoreconditionsmaybedeclaredbyajudicialofficer
ofanyUnitedStatesDiskictCoullhavingcognizanceoftheaboveentitledmaleratthetimeofsuch breach,and ifthebondisforfeited
andtheforfeitureisnotsetasideorremitted,judgmentmaybeentereduponmotioninsuchUnitedStatesDistrictCourtagainsteach
suretyjointlyand severallyfortheamountofthebond,togetherwith interestandcosts,andexecutionmaybeissuedandpayment
securedasprovidedby theFederalRulesofCriminalProcedureand otherlawsoftheUnited States.                                                   '
                                                      SIGN ATURES
Ihavecarefullyreadand1understandthisentireappearancebondconsistingofseven pages,orithasbeenreadtome,and,ifnecessary,
tanslated intomynativçlanguage,andlknow thatIam obligated by 1aw tocomply with allofthetermsofthisbond.1promisetoobey
a11conditionsofthisbond,to appearin courtasrequired,and to suzrenderforservice ofany sentence imposed.1am aware ofthe
penaltiesandsanctionsoutlined in thisbondforviolationsoftlletermsofthebond.
IfIam anagentacthlgfororonbehalfofacorporateslzrety,Ifurtherrepresentthat1am adulyauthorizedagentfortllecorporatesttrety
andhavefullpowerto executethisbondintheam ountstated.
                                                               D EFENDAN T
signedthis fV           dayof rG.aw x-'                   20 ei'/at V/1;1...
                                                                           -:.              , Fl
                                                                                               orida
Signedandacknowledgedbeforeme:                                  DEFENDANT:(Signature)Z
WITNESS:                                                               /'r1/... I                                          =
   m ?x.nI                   .--- .C..-,=-.
                                 .
                                                                                     City                                  State
       City                            Statc

                                                         CORPORATE SURETY
Signedthis              day of                           ,20      at                        ,Florida
SIJRETY:                                                          AGENT:(Signature)
                                                                  PR INT N AM E:
        City                             State

                                                         JNDIVIDUAL SURETIES
SiN edthk       dayof                ,20       at           sFlorida Signedthis dayof                           ,20   at           ,Florida
SIJRETX:.
        tsignature)                                                    SURETY:(Signature)
PR INT N AM E:                                                         PR IN T N AM E:
REIA TIO NSH IP TO DEFENDANT:                                          RELATIONSH IP TO DEFENDAN I':

               City      .                       State                        City                                         State

 Signedthis     dayof                ,20       at          ,Florida Sir edthiq        dayof                     ,20   at           ,Florida
 SURETY:(Signature)                                                    SURETY:(Signature)
 PRINT NAM E :                                                         PRIN T N AM E:
 RELATIONSHIPTO DEFENDAM ':                                            RELATIONSTIIPTO DEFENDAN T:

               Clty                              State                        City                                         State
                                                    APPR OV AL BY T                         T

 Date: X//-VR OA tl                                                    ,
                                                                        JA RED M .s'rM tiss
                                                                        U NITED STA TES M AG ISTR ATE JUD G E
Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 22 of 31


                              UN ITED STATES DISTRICT CO UR T
                              SOU TH ER N DISTRICT OF FL OR IDA
                                 CaseN o: 24-M J-2511-STR AU SS

 United StatesofA m erica
        Plaintiff,
      V.
                                            Charging D istrict'sCaseN o. 24-10051

 Gerardo Ferm in Aquino Vargas,
       Defendant.


                W A IV ER O F RU LE 5 & 5.1 REM O V AL/ID EN TITY H EAR IN G S

        lunderstand thatIhave been charged in anotherdistrict,the D istrictofN ew Jersey.
        lhave been inform ed ofthe chargesand ofm y rightsto:
        (l)   retaincounselorrequesttheassignmentofcounseliflam unabletoretaincounsel;
        (2)   anidentityhearingtodeterminewhether1am thepersonnamedinthecharges;
        (3)   production ofthewarrant,acertified copyofthewarrant,orareliableelectroniccopyof
              either;
        (4)   apreliminaryhearingwithin 14 daysofmy firstappearanceif1am in custody and 21
              daysotherwise - unlesslam indicted - to determ ine w hetherthere is probable causeto
              believe thatan offense has been com m itted;
        (5)   ahearingonanymotionbythegovernmentfordetention;
        (6)   requesttransferofthe proceedingsto thisdistrictunderFed.R.Crim.P.20,toplead
              guilty.

       1agreetowaivemyrightsto:(checkthosethatapply)
              A n identity hearing and production ofthe warrant.
              A prelim inary hearing.
              A detention hearing in the Southern D istrictofFlorida.
           > A n identity hearing,production ofthe warrant,and any prelim inary ordetention hearing
              to w hich l may be entitled to in thisdistrict. 1 requestthatthose hearings be held in the
              prosecuting district,atatim e setby thatcourt.
       1 consentto the issuance of an orderrequiring m y appearance in the prosecuting districtwhere
 the chargesare pending againstm e.

                                                            rt
                                                            Defenda-ntrs- ignatu
 Date: 3/14/2024                                               M                                           -

                                                   J
                                                        .   Jared M .Strauss
                                                  .j.
                                                            United StatesM agistrate Judge
   Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 23 of 31




                                                                             UNITED STATES DISTRICT COURT
                                                                             SOUTHERN DISTRICT OF FLORIDA

                                                                                             CASENO.24-MJ-251l-strâuss
                 UNITED STATES OF AMERICA,
                         Plainti'
                                ff,

                 V,
                   Gerardo Ferm in Aquino Vargas
                         Defendant.
                                             .                       I
                                                                 &888M STIPULATION AND ORDER
                                                            March 14,2024
                                                    on                                    ,theHonorableJaredst uss,tljjktacjsutes MagistrateJudge,
                                                                                           r:
                                                                                            a

                                       setconditionsofreleaseforDefendant GemrdoFerminAnuinoVarua.
                                                                                                 s                                           r-.whioh inclùded
             a        4 2/nnn 4n pprnon,Fjonrl                                        .and imposed a Nebbla requirem ent. The padles
                 (eorporai:suretybond)(percentasebond)
             haveasreedthatthe                   2l                      z                              *-
                                                                                                             being used to satisfy the bond are

                                                    (fundsandlorcollateral)
             from thefollowing sourcets)and arehotillegallyderlved:
            1.Thecoflateralis                       G
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                                                                                                         niFL3311? Tam at./                                  *
                                   %
            2. The $2,soo,oo                            -   --   .                  u being paidby  .                              - - -


             '
                   (premium forthebond/moneybelng dejosltedintotheregistryoftheCourt)
             GinieRodriguez jwhoIs fiancee(ftlturewife)
                                . - --                                          * yl
                                                                                   aemoneywasobtalnedfrom
                                                                                                .                              -

                                       (staterilationship to defendant)
                 Ms.Rodricuezbankaccou-nt
                                        - (
                                          s2.ooc)andMr.Aquinovamasbankaccount(ssoaoo)                                                                        .

                            .                                                         :                                                                      *
            (source offunds-e.g.savingsfrom employmentwithdrawnfrom theX Bank,homekquityIineofcre'
                                                                                                 dlt,e.
                                                                                                      tc.
                                                                                                        ).


            CounselforDefendant
                                         'V ,AA M                                                   b
                                                                                           counselforGovarnment
                                                                                                                                    .             4<ç..Awlps)
            Dated: R ?,nypnp:                                                                           oated::--1<---B$

                                                                                            ORDER
                       Based upon thestipulation ofthe parties andthe inform ation containedtherein,theCoud shds that
                                                                                                                                                             ;
                                                                                                                                                             .   .
            GeNebbiaconditionhasbeensattsfied,andthatthebondtosecurethereleaseofDefendant                                                         '
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                                                                                                       nMiami,Florida.

                                                                                                     ARED STRAUSS
                                                                                                    UNITED STATES M AGISTRATEJUDGE
Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 24 of 31


                                                             U NITED STATES D lsTluc'
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                                                             SOIJTHERN blsTluc'
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                                                                    Case N q;24-M J-2511-STR AU SS
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        Untted statesèfAmeric;
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'
        Gerardo Ferm in A quino V argas, .
                      D efendalk.



                                                                        DRDER OFREM OVAE
                      Itappqafing yhat'in theDistrictofNew Jersçy,an Indidmentwasfiled againsttheabove-named
    Lefendant on a charge of D NJ/WARW COM P/UBSTRUCTION UF JUSTICE, and that the
                              .                  -                  .                                     '                '   .


    defenèantwasarristèdintheSouthernDistrictofFloiidaandWasgivenahearingbeforeUnitedStates
    M ajiàtrate Judge Jared M .Strauss atM iàmi,Florida,which officially corflinittçd the defendantfot
    .

                         ''                              .          '                '
              .

    rem oval to the D istrict of N ew Jersey, it is ORDERED A'
                                                             N D A DJUD GED that the defehdant be     .                '
                                                                                              ,

        remqvedtothevboveanameddistrictfortriqlonsaidcjarge. '
                      And                   further appçaring that the dtfendant Waived ftirther hearing in the said
    rempkalproceedipgsandwasheldbytheVagistrateV dgeJared'
                                                         v .Straugsforremovalandpostedbâil
                                      .        t   '         . ..                                                  .

    intheamount.of$IUOK PSB& $25K 10%       which wasapproved by the United StatesM agistrate
.Judge Jared M .Strauss,'and it is further ORDEREII thatthe defendan'
                                                                    t shallappearin the aforesaid ,
 district.aisuch timesahd placls àsmzy be ordered by thatDistrict cou14,in acèordànée With thb.   .       .
                                                                                                               -
                  .                                  .        ..

    tel'm s and cpnditions of àforesaid'bond fum ished by the defendànt,and itis furthef ORD ERED thatthe
        furtdstplusinterest.which m av have been deposited on behalfpfthis dbfendantWith the Clçrk ofthè
        CourtunderBailReform Actbqtrénsferredtothe districtwhererem oved.
                      D ON E AN D ORDERED atM iam i,Florida c?p 3/14/2024.




                                                                                   àred M Strattss
                                                                          .
                                                                                  U nited States M agistrateJudgé
         Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 25 of 31
*

    (Revised03/2020)

                                       UNITED STATES DISTRICT COURT
                                       SOUTH ERN DISTRICT OF FLORIDA

                               APPE AR AN CE B O ND :                               -




                                         CASE No .: = *l- M .
                                                            J W J'/z - l-è ro.rs

    UNITED STATES 0F AM ERICA :
                         Plaintiff,
                                                               UsM # :       t7 </c/d ? -# /z
    ö .t '-02 v Girw ,q 4, .1lo V a ey <r
                         D efendant,
                                               /

    1,thetmdersigned defendantandIorwe,theundersignedsureties,jointlyand severallyacknowledgethatweand
    ourpersonalrepresentatives,jointlyandseverally,arebotmdtopaytheUnitedStatesofAmerica,thesllm of
    $        z v p od      'o -J .    C+ 2 ,t ao)
                                       STAN D AR D C O N DITIO N S O F B O ND

    The conditionsofthis bond are thatthe defendant:

        1. Shallappear before this Courtand atsuch otherplaces asthe defendantm ay be required to appear,in
    accordance w ith any and allorders and directions relating to the defendant's appearance in this case,including
    appearance forviolation ofacondition ofthe defendant'srelease asm ay beordered ornotified by thisCourtor
    any otherUnited StatesDiskictCourtto which thedefendantm ay beheld to answerorthecausetransferred.The
    defendantisrequired to ascertain from the Clerk ofCourtordefense counselthe tim e and place ofa11scheduled
    proceedingson the case. ln no eventm ay a defendantasstlm e thathis orhercase hasbeen dism issed unlessthe
    Courth&sentered anorderofdismissal. Thedefendantisto abideby anyjudgmententeredin such matterby
    surrenderingtoserveany sentenceimposedandobeyinganyorderordirectioninconnectionwithsuchjudgment.
               .

    This is a continuing bond,including any proceeding on appeal or review ,which shallrem ain in fullforce and
    effectlm tilsuch tim e asthe Courtshallorder otherwise.

       2. M ay nottraveloutsidethe Southern DistrictofFlorida tmlessotherwise approved by the Courtpriorto
    any such travel. The Southern D istrictofFlorida consists ofthe follow ing counties: B row ard,Highlands,Indian
    River,M artin,M inmi-Dade,M onroe,Okeechobee,Palm Beach and St.Lucie.
        3. M ay not change his/her presentaddress w ithoutprior notification and approvalfrom the U .S.Probation
    OfficerortheCourt.
       4. M ust cooperate w ith 1aw enforcem ent officers in the collection of a DN A snm ple if the collection is
    required by 42 U .S.C.Section 14135a.

        5. M ustnotviolate any federal,state or local1aw while on release in this case.Should the defendantcom e
    in conoctw11111aw enforcementhe/she shallnotify the U.S.Probation Officerwithin 72 hotlrs.
     Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 26 of 31


                                                              DEFENDANT: Gerardo Ferm in Aquino Vargas
                                                              CASE NUM BER: 24-M J-251l-strauss
                                                              PAGE 1% 0


                                        SPECTAT,CO N DITIO NS O F BO ND

ln addition to com pliance w ith the previously stated conditions of bond,the defendant m ustcom ply with the
specialconditions checked below :           ,

 -ua.Surrendera1lpassportsandtraveldocuments,ifany,toPretrialServicesandnotobtainanytraveldocuments
            duringthependencyofthecase; w ithin 48hrs.
 Y b.RelxdtoPretrialServicesasfollows:(7 asdirededor timets)aweekinpersonand timets)aweekby
           telephone;
         c.Subm itto substanceabusetesting and/ortreatm ent,contributetothecostofservicesrendered based on ability
           to pay,asdeterm ined by the U .S.Probation O m cer;
         d.Refrain from      excessive OR      abstain from alcoholuse or any useofanarcotic drug orotherconkolled
            substance,asdefinedinsection102oftheControlledSubstancesAct(21U.S.C.j802),withoutaprescriptionby
           alicensed m edicalpractitioner;
         e.Participate in a m entalhealth assessm ent and/ortreatm entand contribute to the costs of services rendered
           based on ability to pay,asdeterm ined by the U .S.Probation O m cer;
 V//'ç.Employmentrestrictionts):No financialinstitutions
 -------'
  .. -
  + g.M aintain oractively seek full-tim e em ploym ent;
    h.M aintain orbegin an educationalprogram ;
W i.Av oidallcontactwithvictimsorwitnessestothecrimescharged,exceptthroughcounsel.TheAUSAshall
    provide defense counsel and pretrial services with the nam es of allvictim s or witnesses.The prohibition
            against contact does not take effect untildefense counselreceives the list.n e prohibition against contact
            applies only to those personson the list,butthe prosecutorm ay expand the listby sending written notice to
            defense counseland pretrialservices.;
 V j.Avoidallcontactwithco-defendantsanddefendantsinrelatedcases,exceptthroughcounsel;
 uk.Refrainfrom possessingafirearm,destmctivedeviceorotherdangerousweaponsandshallsurrender(ifany),
 -


 7 theirconcealedweaponspermittotheU.S!ProbationOffke;
         1.N one ofthe signatories m ay sell,pledge,m ortgage,hypothecate,encum ber,etc.,any realproperty they own,
           untilthe bond is discharged,orotherwise m odifed by the Court;
         m .M ay notvisitcom m ercialtransportation establishm ent:airports,seapoY m arinas,com m ercialbusterm inals,
            train stations,etc.;
         n. Defendant shallconsentto the U .S.Probation Officer conducting periodic urmnnounced exam inations ofthe
            defendant's computerequipm entathis/herplace ofem ploym entor on the com puterathis/herresidence which
            may includeretrievaland copying ofallt1a1 9om thecomputerts)andany intemalorextemalperipheralsto
            ensurecompliancewiththisconditionand/orremovalofsuchequipmentforthepurgoseofconductingamore
            thorough inspection;and consentatthedirection oftheU .S.Probation Om certo have m stalledon thedefendnnt's
            computerls),atthedefendlmt'sexpense,anyhardwareorsoftwaresystemstomonitorthedefendnnt'scomputer
            use;
Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 27 of 31


                                                        DEFENDANT: G erardo Ferm in Aquino Vargas
                                                        CASE NUM BER:24-MJ-2511-Strauss
                                                        PAG E THR EE


V o.LOCATION MONITORG G PROGRAM:Thedefendantshallbemonitoredbytheform oflocation
     m onitoring and shallabide by alltechnology requirem ents asnoted below ,aswellascontribute to the costsof
     servicesrenderedbasedon( )abilitytopayasdeterminedbytheU.S.ProbationOffker-or-V )paidby
     U .S.Probation;
         Location m onitoring technology atthe discretion ofthe officer
        RadioFrequency(RF)monitoring(EleckonicM onitoring)
      Y ActiveGpsMonitoring
        v oiceRecognition
      Z curfew:Youarerestrictedtoyourresidenceevelydayfmml1am to6Dm ,orasdirectedbythesumrvising
         oë cer.
                                                      OR
        H om e D etention:You are restricted to yourresidence atal1tim esexceptfor:
        ( )medical
        ( )substanceabuseormentalhealthtreatment
        ( )courtappearances
        ( )attorneyvisitsorcourtorderedobligations
        ( )religiousservices
        ( )employment
        ( )otheractivitiesaspre-approvedbythesupervisingoYcer
-
    p.R ESIDEN TIAI,R E-EN TR Y CENTER : The defendant shallreside at a residential re-entry center or
      halfwayhouseandabidebyal1therulesandrejulationsoftheprogram.Thecosttobepaidby(lpretrial
      Servicesor ( )based on the defendant'sabllity to pay.You are restricted to the residentialre-entry
      center/halfway house ata1ltim esexceptfor:
      ( )employment
      ( )education
      ( )religiousservices
      ( )medical,substnnceabuse,ormentalhealthtreatment
      ( )attomeyvisits
      ( )courtappearances
      ( )courtorderedobligations
      ( )reportingtoPretrialServices
      ( )Other
-   q.Third-party Custody:                                         w illserve asa third party custodian and w ill
      reportany violations ofthe release conditionsto the U .S.Probation Offk er. Failure to com ply w ith these
      requirements,thethirdpartycustodian can besubjectto theprovisionsof18U.S.C.j401,Contemptof
      Court.

-
    r.Thedefendantshallsubmithisperson,property,residence,vehicle,papers,computers,(asdefned in 18
      U.S.C.1030(e)(1)),otherelectroniccommunication ordatastoragedevicesormedia,oroffice,toasearch
      conducted by a U nited States Probation Om cer. The defendantm ust w arn any other occupants thatthe
      ?remisesmaybesubjecttosearchespursuanttothiscondition.Anysearchmustbeconductedatareasonable
      tlm e and in a reasonable m anner.
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                                                        DEFENDANT: Gerardo Ferm in Aquino Vargas
                                                        CASE NUM BER:24-M J-2511-Strauss
                                                        PAG E FO UR

  s. M andatory A dam W alsh C onditions: Defendant shall abide by specifed restrictions on personal
  associations,place of abode,or travel,to avoid allcontact with an alleged victim of the crim e and with a
  potential w itness who m ay testify concerning the offense; report on a regular basis to a designated law
  enforcementagency,pretrialservicesagencyorotheragency;complywithaspecifiedcurfew (withelectronic
  monitoring)andrefrainfrom possessingafirearm,destructivedeviceorotherdangerousweapons.
  t.AdditionalSex Offense ConditionsForD efendants Cham ed orConvicted ofa SexualO ffense:
       1. ( )Defendantmaynothavecontactwithvictimts),oranychildundertheageof18,unlessapproved
                 by the Courtorallow ed by the U .S.Probation Om cer.
       2.     )Thedefendantshallnotpossessoruseanydataencryptiontechniqueorprogram andshall
                 providepasswordsand adm inistrative rightsto the U .S.Probation Ofscer.
              ) Defendantshallparticipateinspecializedsexoffenderevaluationandtreatment,ifnecessary,
                 and to contribute to the costsofservicesrendered based on ability to pay,asdeterm ined by
                 the U .S.Probation Office.
              )Defendantshallnotpossess,procure,purchaseorotherwiseobtainanyinternetcapabledevice
                 and/orcom puter.Additionally,the defendantisprohibited from using anotherindividual's
                 computerordevice thathas intem etcapability.
              )Defendantisprohibitedfrom establishingormaintaininganyemailaccountorsocialmedia
                 account.Additionally,thedefendantisprohibited from using anotherindividual'sem ailaccount
                 orsocialm edia account.M ustprovidem onthly orupon request,personalphoneand creditcard
                 billingsto PretrialServicesto confirm there are no servicesw ith any internetservicesprovider.
       6.     )Defendantisnotpermittedtoenterplaceswherechildrencongregateincluding,butnotlimited
                 to any play areas,playgrounds,libraries,children-them ed restaurants,daycares,schools,
                 am usem entparks,cam ivals/fairs,unlessapproved by the U .S.Probation Offk er.
       7.      )Thedefendantshallnotbeinvolvedinanychildren'soryouthorganizations.
       8.      )Defendantisprohibitedfrom viewing,owning,orpossessinganyobscene,pornographic,or
                 sexually stim ulating visualorauditory m aterial,including telephone,eleckonic m edia,
                 Com puterProgram s,OrComputerSCW V CS.
       9.      )Thedefendantshallparticipatein amaintenancepolygraphexaminationtoperiodically
                investigatethe defendant's com pliance.The polygraph exam ination shallspecifk ally address
                only defendant'scom pliance ornon-com pliance with the specialconditionsofrelease and shall
                notinquire into the factsofthe pending crim inalcase againstdefendant.The defendantw ill
                contributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailability
                ofthird party paym ent.
V u.Maytraveltoandfrom:SDFLtcourtl&D-NJ(resi
                                           de),andmustnotifyPrekialServicesoftravelplansbefore
  leaving and upon retum .
V VComplywiththefollowingadditionalconditionsofbond:
   .

    Defendanttoresideattheaddressontherecord.Twenty-fourstosatisfynebbi
                                                                      a andfilewi
                                                                                ththecourt(3/25/2024).
    Case 1:24-mj-02511-JMS Document 9 Entered on FLSD Docket 03/18/2024 Page 29 of 31

                                                                       DEFENDANT: 5 =rs*2* V# r. ufK                          .

                                                                       CASE NUM BER:                  Q Y -- y .
                                                                                                               . 2 n /j.xw a w yj
                                                                       PAGE S1X

                            PENALTIES AND SANCTIONS APPLICABLE TO SURETIES
Violation bythedefendantofany oftheforegoing conditionsofreleasewillresultin an immediateobligation bythestlrety orsureties
topaythefullamountofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialomcer
ofanyUnitedStatesDistrictCourthaving cognizanceoftheaboveentitledm atteratthetimeofsuchbreach,and ifthebondisforfeited
andtheforfeitureisnotsetasideorremitted,judgmentmaybeentereduponmotionin suchUnitedSotesDiseictCourtagainsteach
suretyjointly andseverally fortheamountofthebond,togetherwith interestandcosts,and execution maybeissuedandpayment
secured asprovidedbytheFederalRulesofCriminalProcedureandotherlawsoftheUnitedStates.
                                                     SIGN ATU RES
Ihavecarefullyread andlunderstandthisentkeappearancebond consistingofsevenpages,orithasbeen readtome,and,ifnecessary,
translatedintomynativelanguage,andlknow thatIam obligatedby law tocomplywitha1lofthetermsofthisbond.Ipromisetoobey
allconditionsofthisbond,to appearin courtasrequired,and to surrenderforservice ofany sentence im posed.Iam aw are ofthe
penaltiesandsanctionsoutlined inthisbondforviolationsofthetermsûfthebond.
IfIam an agentactingfororonbehalfofacorporateslzrety,IfurtherrepresentthatIam aduly authorizedagentforthecorporatesurety
andhavefullpow ertoexecutethisbond in thenmountstated.
                                                             DEFENDANT
signedthis /H dayof m R oex                       .
                                                         ,20V> at * 11%-           ,    $   Florida
Signedandacknowledgedbeforeme:                                 DEFENDANT:(Signature) W
WITNESS: A                                                              /T1$.-,(                                     cw
   e'
    X 8- 1,                       CwC                                            City                                State
       City                        State

                                                        CORPORATE SURETY
Signedthis               day of                         ,20   at                        ,Florida
SURETY:                                                          AGENT:(Signature)
                                                                 PR INT N AM E:
         City                           State

                                                        INDIVIDUAL SURETIES
 Signedthis      dayof             ,20     at              ,Floricla Signedthis dayof                     ,20   at            sFlorida
 SURETY:(Signature)                                                 SURETY:(Signature)
 PRIN T N AM E:                                                     PRINT NAM E:
 RELATIONSH IP TO DEFENDW          :                                RELATIONSHIPTO DEFENDANT:

                City                            State                       City                                      State

 Signedthis      dayof             ,20     at              ,Florida Sir edthis     dayof                  ,20   at            ,Floritla
 SURETY:(Signature)                                                 SURETY:(Signature)
 PRINT NA M E:                                                      PRINT NA M E:
 REIA TIONSIIIP TO DEFENDANT:                                       REIA TIONSH IPTO DEFENDANT:

                City                            State                       City                                      State
                                                  APPR O VA L BY T                      T

 oate:gZ#5-/>- w$                                                     ARED M .STR AUSS
                                                                     UN ITED STA TES M AG ISTM TE JUD G E
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 CD       Purpose               Case/pa m efendant                                               Prlte           Amt
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                                                   Aquin:Varqas                                2500.00         1500.
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 CD       Tender                                                                                                 Amt

 CH       Check                 #6655906513                    03/152024                                     $1,500.00
                                                                  TotalDtlePn'ortePayment:                   $2.500.00
                                                                              TetôlTendered.
                                                                                           .                 $2,500.00
                                                                        TotalCashReceiv :                        $0.
                                                                                                                   00
                                                                       CashChange     eunt'
                                                                                          .                      $0.00
 Comments:l:24-mi2251b1MS-1/GerardoFerminAquinoVargasREMI
                                                        U ER:GERARDO AQUINO
                     BOND



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                              susbjedtotolectionandfullcreditwill(mlybegivenwhenthecheckordraoha:beenacceptedbythe
                                  drawn.
